                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA




UNITED STATES OF AMERICA,                         Case No. 3:20-cr-00054-SLG-MMS
                       Plaintiff,


          vs.                                        FINAL REPORT AND
                                                 RECOMMENDATION OF THE
                                               MAGISTRATE JUDGE UPON A PLEA
CHRISTOPHER ALAN TORWIT,                                 OF GUILTY
                       Defendant.




          Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, upon Defendant's

request to enter a guilty plea to Count 1 of the Indictment and admit criminal forfeiture

allegation, this matter was referred to the Magistrate Judge by the District Court, with the

written and oral consents of Defendant 1, counsel for Defendant, and counsel for the United

States.

          Thereafter, the matter came on for a hearing on Defendant’s guilty plea, in full

compliance with Rule 11, Federal Rules of Criminal Procedure, before the Magistrate

Judge, in open court and on the record.




1
    Doc. 61.


        Case 3:20-cr-00054-SLG-MMS Document 62 Filed 11/03/21 Page 1 of 5
       In consideration of that hearing and the allocution made by the Defendant under

oath, on the record, in the presence of counsel, and the remarks of the Assistant United

States Attorney,

       A.      I make the following FINDNGS – that the Defendant understands:

            1. That any false statements made by the Defendant under oath may later be

               used against him in a prosecution for perjury;

            2. The right to persist in a plea of not-guilty;

            3. The consequence of not being a United States citizen, including the

               possibility of deportation;

            4. The nature of the charges against him;

            5. The requirement to register as a sex offender upon released from prison and

               will be subject to federal and state sex offender registration requirements;

            6. The maximum possible sentence, including imprisonment, fine, and the

               effect of the supervised release term;

            7. Any applicable mandatory minimum penalty;

            8. The Court’s authority to order restitution;

            9. The Court’s obligation to impose a special assessment;

            10. Any applicable forfeiture;

            11. The right to a speedy and public trial by jury;

            12. The right to be represented by counsel – and if necessary, to have the Court

               appoint counsel at trial, and at every other stage of the proceedings;

United States v. Torwit
3:20-cr-00054-SLG-MMS
Final R&R re Plea of Guilty
Page 2
      Case 3:20-cr-00054-SLG-MMS Document 62 Filed 11/03/21 Page 2 of 5
            13. The right to confront and cross-examine adverse witnesses, to be protected

               from compelled self-incrimination, to testify and present evidence, and to

               compel the attendance of witnesses;

            14. The Defendant’s waiver of trial rights if the Court accepts a guilty plea or

               nolo contendere;

            15. That he knowingly, intelligently, and voluntarily waived his right to appeal

               or collaterally attack his conviction and any sentence imposed if it is within

               the range contemplated by the plea agreement; and

            16. That in determining a sentence, the court’s obligation to calculate the

               applicable sentencing guideline range and to consider that range pursuant to

               the Sentencing Guidelines promulgated by the United States Sentencing

               Commission, possible departures under the Sentencing Guidelines, and

               variances under 18 U.S.C. §3553(a).

       B.      I further FIND that:

            1. The Defendant is competent to enter a plea;

            2. That the plea of guilty by the Defendant has been knowingly and voluntarily

               made and is not the result of force, threats, or coercion;

            3. Any agreements or promises which induced the plea of guilty are set forth in

               the written plea agreement or on the record; and

            4. That there is a factual basis for the Defendant’s plea.



United States v. Torwit
3:20-cr-00054-SLG-MMS
Final R&R re Plea of Guilty
Page 3
      Case 3:20-cr-00054-SLG-MMS Document 62 Filed 11/03/21 Page 3 of 5
       C.      I RECOMMEND that the District Court accept the Defendant’s plea of

guilty to Count 1 of the Indictment, Title 18, United States Code, Section 2252A(a)(5)(B)

– Possession of Child Pornography.

IT IS FURTHER ORDERED:

       D.      A Presentence Report be prepared.

            1. Any objection(s) to the presentence report shall be filed no later than fourteen

               (14) days after receiving the presentence report pursuant to Fed. R. Crim. P.

               32(f)(1);

            2. Any sentencing memorandum shall be filed no later than seven (7) business

               days prior to sentencing pursuant to L.Cr.R. 32.1(e).

       The Sentencing hearing will be before United States District Judge Sharon L.

Gleason. The court excludes time from September 21, 2021 until the time of sentencing

pursuant to 18 U.S.C. §3161(h)(1)(G) on the grounds that the District Judge will be

considering the proposed plea agreement.

               DATED this 3rd day of November, 2021, at Anchorage, Alaska.

                                                        s/ Matthew M. Scoble
                                                        MATTHEW M. SCOBLE
                                                        Chief United States Magistrate Judge




This Report and Recommendation is being issued as a Final Report and Recommendation.
Pursuant to Fed. R. Crim P. 59(b)(3), any objections will be considered by the District
Court Judge who will accept, reject, or modify the recommendation following de novo
United States v. Torwit
3:20-cr-00054-SLG-MMS
Final R&R re Plea of Guilty
Page 4
      Case 3:20-cr-00054-SLG-MMS Document 62 Filed 11/03/21 Page 4 of 5
review. Any objections must be filed within seven (7) days from the date of service of this
Report and Recommendation. The shortened objection deadline is due to the request
of the District Court Judge. Fed. R. Crim P. 59(b)(2) and D. Ak. L.M.R. 6(a)
authorizes the court to alter the standard objection deadlines.


Reports and recommendations are not appealable orders. Any notice of appeal pursuant to
Fed. R. App. P. 4(a)(1) should not be filed until entry of the District Court’s judgment. See
Hilliard v. Kincheloe, 796 F.2d 308 (9th Cir. 1986).




United States v. Torwit
3:20-cr-00054-SLG-MMS
Final R&R re Plea of Guilty
Page 5
      Case 3:20-cr-00054-SLG-MMS Document 62 Filed 11/03/21 Page 5 of 5
